                  Case 08-90906-BHL-7                                  Doc 1           Filed 04/11/08                    EOD 04/11/08 12:21:40                        Pg 1 of 5
B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                      Southern District of Indiana                                                                              Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                              Name of Joint Debtor (Spouse) (Last, First, Middle):
  Shelton, Richard L


All Other Names used by the Debtor in the last 8 years                                                   All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                              (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                        Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                            (if more than one, state all)
  xxx-xx-8354
Street Address of Debtor (No. and Street, City, and State):                                              Street Address of Joint Debtor (No. and Street, City, and State):
  323 Vest Rd
  Henryville, IN
                                                                                        ZIP Code                                                                                      ZIP Code
                                                                                      47126
County of Residence or of the Principal Place of Business:                                               County of Residence or of the Principal Place of Business:
  Clark
Mailing Address of Debtor (if different from street address):                                            Mailing Address of Joint Debtor (if different from street address):


                                                                                        ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                        Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                      (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                   Chapter 7
                                                                Single Asset Real Estate as defined                    Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                              Chapter 11
                                                                Railroad
                                                                                                                       Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                       Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                              Nature of Debts
    check this box and state type of entity below.)                                                                                                 (Check one box)
                                                                         Tax-Exempt Entity
                                                                        (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                    "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                              Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                    Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                         Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                                to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                         Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                              A plan is being filed with this petition.
                                                                                                                Acceptances of the plan were solicited prepetition from one or more
                                                                                                                classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                               THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-         5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000         10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001    $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10        to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million       million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001    $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10        to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million       million        million       million
                Case 08-90906-BHL-7                      Doc 1            Filed 04/11/08           EOD 04/11/08 12:21:40                            Pg 2 of 5
B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Shelton, Richard L
(This page must be completed and filed in every case)
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: Southern District of Indiana                           99-91892-BHL-7                        7/22/99
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                     Exhibit A                                                                                  Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ N. Lisa Glickfield Back                            April 11, 2008
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              N. Lisa Glickfield Back 23584-27

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                Case 08-90906-BHL-7                        Doc 1          Filed 04/11/08              EOD 04/11/08 12:21:40                        Pg 3 of 5
B1 (Official Form 1)(1/08)                                                                                                                                               Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Shelton, Richard L
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Richard L Shelton                                                                X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Richard L Shelton

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     April 11, 2008
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ N. Lisa Glickfield Back
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      N. Lisa Glickfield Back 23584-27                                                         debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Lisa Glickfield Back
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      Hancock & Hancock
      413 W. First Street                                                                      Social-Security number (If the bankrutpcy petition preparer is not
      New Albany, IN 47150                                                                     an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                             Email: l.back@insightbb.com
      812-944-1234 Fax: 812-944-8121
     Telephone Number
     April 11, 2008
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
    Case 08-90906-BHL-7   Doc 1   Filed 04/11/08   EOD 04/11/08 12:21:40   Pg 4 of 5


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                      AUTOMRAMA, LLC
                      6515 SHEPHERSDVILLE RD
                      LOUISVILLE, KY 40228




                      DISNEY WONDERFUL WORLD OF READING
                      PO BOX 6001
                      JEFFERSON CITY, MO 65102-6001




                      HIGHLIGHTS FOR CHILDREN
                      1800 WATERMARK DR
                      PO BOX 269
                      COLUMBUS, OH 43216-0269




                      ORSCHELN FARM AND HOME
                      1326 N. GARDNER ST.
                      SCOTTSBURG, IN 47170




                      SAINT CATHERINE REGIONAL HOSPITAL
                      2200 MARKET STREET
                      CHARLESTOWN, IN 47111




                      SBC




                      SCOTT COUNTY PROSECUTOR
                      220 COURTHOUSE
                      ONE E. MCCLAIN AVE
                      SCOTTSBURG, IN 47170
Case 08-90906-BHL-7   Doc 1   Filed 04/11/08   EOD 04/11/08 12:21:40   Pg 5 of 5



                  SCOTTSBURG UTILITIES
                  2 E. MCCLAIN AVE
                  SCOTTSBURG, IN 47170




                  SPRINT PCS
                  PO BOX 660092
                  DALLAS, TX 75266-0092




                  ST. CATHERINE PHY SVC
                  1901 W. HAMILTON ST.
                  SUITE 100B
                  ALLENTOWN, PA 18104




                  ST. CATHERINE REG HOSPITAL
                  PO BOX 9
                  CHARLESTOWN, IN 47111-0009




                  TYMPANA (USA) UBC,
                  PO BOX 5305
                  GLEN ALLEN, VA 23058-5305




                  WEST ASSET MANAGEMENT
                  PO BOX 105478
                  ATLANTA, GA 30348-5478
